                                                                         Ryan P. Steen (Bar No. 0912084)
                                                                         ryan.steen@stoel.com
                                                                         Jason T. Morgan (Bar No. 1602010)
                                                                         jason.morgan@stoel.com
                                                                         Veronica M. Keithley (Bar No. 1411100)
                                                                         veronica.keithley@stoel.com
                                                                         STOEL RIVES LLP
                                                                         600 University Street, Suite 3600
                                                                         Seattle, WA 98101
                                                                         Telephone: 206.624.0900
                                                                         Facsimile: 206.386.7500

                                                                         Attorneys for ConocoPhillips Alaska, Inc.
                  600 University Street, Suite 3600, Seattle, WA 98101




                                                                                                       UNITED STATES DISTRICT COURT
                                                Fax 206.386.7500




                                                                                                        FOR THE DISTRICT OF ALASKA
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                                                                         NORTHERN ALASKA ENVIRONMENTAL                          Case No.: 3:18-cv-00030-SLG
                                                                         CENTER, ALASKA WILDERNESS
                                                                         LEAGUE, DEFENDERS OF WILDLIFE, THE                     MEMORANDUM IN SUPPORT OF
                                                                         SIERRA CLUB, and THE WILDERNESS                        MOTION TO INTERVENE BY
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                                                                         SOCIETY,                                               CONOCOPHILLIPS ALASKA, INC.

                                                                                                                 Plaintiffs,

                                                                                v.

                                                                         UNITED STATES DEPARTMENT OF THE
                                                                         INTERIOR, BUREAU OF LAND
                                                                         MANAGEMENT, RYAN ZINKE, in his
                                                                         official capacity as Secretary of the Interior,
                                                                         and BRIAN STEED, in his official capacity as
                                                                         the official exercising the authority of the
                                                                         Director of the Bureau of Land Management,

                                                                                                              Defendants.

                                                                                                                I. INTRODUCTION

                                                                                ConocoPhillips Alaska, Inc. (ConocoPhillips) is Alaska’s largest oil producer and a major

                                                                         owner of private, state, and federal leases in Alaska, including leases challenged in this litigation.


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                                                                         ConocoPhillips seeks to intervene in this action because the claims asserted by the plaintiffs

                                                                         directly threaten its interests.

                                                                                 ConocoPhillips has invested hundreds of millions of in the National Petroleum Reserve –

                                                                         Alaska (NPR-A). ConocoPhillips has purchased leases covering just over one million acres in the

                                                                         NPR-A—more than any other operator by a significant margin. ConocoPhillips also explores for,

                                                                         develops, and produces oil on many of its lease holdings within the NPR-A. ConocoPhillips was

                                                                         the high bidder on all of the leases sold in the 2017 NPR-A lease sale (2017 Lease Sale) held by

                                                                         the Bureau of Land Management (BLM).

                                                                                 The Northern Alaska Environmental Center et al. (Plaintiffs) filed this lawsuit
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                                                                         challenging the adequacy of the environmental analysis underlying BLM’s decision to conduct
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                                                                         the 2017 Lease Sale. Specifically, Plaintiffs assert that BLM’s decision to authorize the 2017

                                                                         Lease Sale, together with the underlying environmental analysis, violates the Administrative
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                                                                         Procedure Act and the National Environmental Policy Act (NEPA). Among other things,

                                                                         Plaintiffs seek a court order to “[v]acate and set aside as unlawful the 2017 lease sale, the
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                                                                         underlying Determination of NEPA Adequacy, and any leases issued pursuant to such sale.” 1

                                                                                 ConocoPhillips respectfully seeks to intervene in this action to defend the environmental

                                                                         review conducted for the 2017 Lease Sale and to protect the substantial investment it has made in

                                                                         acquiring leases under that sale. 2

                                                                                                                 II. BACKGROUND

                                                                         A.      Leasing in the NPR-A.

                                                                                 The NPR-A is a federally designated area on Alaska’s North Slope, encompassing nearly

                                                                         23 million acres. BLM manages the NPR-A under the Naval Petroleum Reserves Production

                                                                         Act, as amended, and its implementing regulations, which require oil and gas leasing in the NPR-

                                                                         A and the protection of surface values to the extent consistent with exploration and development


                                                                                 1
                                                                                     Complaint (Dkt. 1), Request for Relief.
                                                                                 2
                                                                                 Federal Defendants do not oppose ConocoPhillips’ motion to intervene. As of March
                                                                         28, 2018, Plaintiffs “take no position on the motion at this time.”
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                                                                         of oil and gas. 3 Specifically, BLM is required to “conduct an expeditious program of competitive

                                                                         leasing of oil and gas in the [NPR-A].” Id. § 6506a(a). To date, BLM has leased a total of

                                                                         approximately 1.5 million acres in the NPR-A.

                                                                                Before 2012, the NPR-A was managed by BLM under two separate “Integrated Activity

                                                                         Plans” (IAPs) addressing the Northwest and Northeast portions of the NPR-A. 4 In July 2010, the

                                                                         BLM began a planning process to develop a new IAP addressing the entire NPR-A. This process,

                                                                         which included multiple opportunities for public input, culminated in November 2012 with

                                                                         BLM’s issuance of the new IAP, as documented in a comprehensive 1,000+ page environmental

                                                                         impact statement prepared under NEPA and an associated record of decision (IAP/EIS). 5 In
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                                                                         preparing the IAP/EIS, BLM formally cooperated with the North Slope Borough, the State of

                                                                         Alaska, the U.S. Fish and Wildlife Service, and the U.S. Bureau of Ocean Energy Management. 6
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                                                                         BLM undertook this new, comprehensive approach to provide “consistent management” of the
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                                                                         NPR-A and “greater certainty and opportunity to industry while better protecting the

                                                                         environment, public use of the land, and public health.” 7 ConocoPhillips actively participated in
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                                                                         the administrative process leading up to the IAP/EIS and submitted detailed written comments

                                                                         on the draft IAP/EIS. 8

                                                                                The IAP/EIS plans for the authorization of “multiple lease sales.” 9 It assumes that all

                                                                         lands identified in the IAP/EIS for leasing will be offered in lease sales conducted after the

                                                                                3
                                                                                    See 42 U.S.C. § 6501, et seq.
                                                                                4
                                                                                  These plans are documented in the Northwest IAP Record of Decision (Jan. 22, 2004)
                                                                         and the Northeast NRP-A Supplemental IAP Record of Decision (July 16, 2008).
                                                                                5
                                                                                  See U.S. Dept. of Interior, Bureau of Land Mgmt., National Petroleum Reserve-Alaska,
                                                                         Final Integrated Activity Plan/Environmental Impact Statement (Nov. 2012). The IAP/EIS and
                                                                         associated documents are available at https://eplanning.blm.gov/epl-front-
                                                                         office/eplanning/planAndProjectSite.do?methodName=dispatchToPatternPage&currentPageId=1
                                                                         4702.
                                                                                6
                                                                                    IAP/EIS at 1.
                                                                                7
                                                                                    Id. at i.
                                                                                8
                                                                                    Declaration of John F. Schell, Jr. (Schell Decl.) ¶ 5.
                                                                                9
                                                                                    IAP/EIS at 9.

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                                                                         release of the IAP/EIS. 10 For each lease sale following the first lease sale held under the

                                                                         IAP/EIS, BLM is required to determine whether the IAP/EIS is adequate and, if the document is

                                                                         adequate, to issue a determination of NEPA adequacy (DNA) in conjunction with the lease sale.

                                                                         Id. Any actions beyond the leasing stage, such as exploration or construction approvals, require

                                                                         additional “NEPA analysis based on specific and detailed information about where and what

                                                                         kind of activity is proposed.” Id. As contemplated by the IAP/EIS, BLM held lease sales in 2013,

                                                                         2014, 2015, 2016, and 2017, and issued DNAs for each of those lease sales. 11 Plaintiffs seek to

                                                                         vacate the 2017 Lease Sale, including all leases sold, based on the alleged inadequacy of the

                                                                         IAP/EIS.

                                                                                ConocoPhillips’ interest in this litigation.12
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                                                                         B.
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                                                                                ConocoPhillips is the largest owner of state and federal leases in Alaska, and the NPR-A

                                                                         is a key area of interest and investment. ConocoPhillips purchased leases in each of the five lease
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                                                                         sales that have been conducted under the IAP/EIS from 2013 to 2017. Additionally,

                                                                         ConocoPhillips purchased NPR-A leases in sales held prior to 2013, and is actively developing
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                                                                         many of those leases. In 2015, ConocoPhillips commenced production at the CD5 satellite in the

                                                                         Colville River Unit. CD5 is located in the northeast NPR-A and is the first oil production site

                                                                         located within the NPR-A. In 2017, ConocoPhillips began construction of the GMT1 satellite in

                                                                         the NPR-A, which is expected to commence production in late 2018. ConocoPhillips is presently

                                                                         permitting for the GMT2 satellite, and plans to begin construction in 2019. The Willow prospect

                                                                         was announced as a discovery in 2017, and is currently being appraised for development

                                                                         potential. Each of those projects involves hundreds of millions of dollars investment, and each of

                                                                         the satellite developments directly employs hundreds of people in new construction jobs.


                                                                                10
                                                                                     Id.
                                                                                11
                                                                                   See U.S. Dep’t of the Interior, Bureau of Land Mgmt., Alaska Oil and Gas Lease Sales,
                                                                         https://www.blm.gov/programs/energy-and-minerals/oil-and-gas/leasing/regional-lease-
                                                                         sales/alaska (last visited Mar. 26, 2018).
                                                                                12
                                                                                   Unless otherwise noted, all facts stated in this subsection are supported by the Schell
                                                                         Declaration.

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                                                                                   This litigation impacts a broad range of ConocoPhillips’ interests in Alaska. In

                                                                         furtherance of its ongoing interest in the NPR-A, ConocoPhillips purchased seven leases in the

                                                                         2017 Lease Sale for a total amount of over $1 million. ConocoPhillips holds the only leases that

                                                                         were sold in the 2017 Lease Sale. 13 ConocoPhillips has certain rights in the oil and gas leases it

                                                                         acquired as high bidder in the 2017 Lease Sale. Plaintiffs’ lawsuit seeks to impair or eliminate

                                                                         those interests by either undermining the supporting environmental analyses or vacating the

                                                                         leases.

                                                                                   Not only does this lawsuit implicate the lease rights, but it could further undermine

                                                                         significant investments incurred by ConocoPhillips in securing its leases. In anticipation of lease
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                                                                         sales, including the 2017 Lease Sale, ConocoPhillips spent hundreds of millions of dollars in
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                                                                         staff time and contractor fees to acquire and analyze seismic data. The purpose of this substantial

                                                                         investment in data collection and analysis was to provide ConocoPhillips with a competitive
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                                                                         advantage in identifying and bidding on prospective lease areas. ConocoPhillips effectively

                                                                         disclosed this information by bidding on particular lease parcels, revealing which parcels
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                                                                         ConocoPhillips deemed to be most valuable. Plaintiffs’ requested relief in this case—vacating

                                                                         the leases—would diminish the value of that investment. In any subsequent re-sale of the leased

                                                                         areas, all of ConocoPhillips’ competitors would know precisely which parcels ConocoPhillips

                                                                         believes are the most prospective and how much it was willing to pay for particular leased areas.

                                                                                   More broadly, ConocoPhillips has an important and ongoing interest in the future of oil

                                                                         and gas production in Alaska. ConocoPhillips has a long history of oil and gas activities in the

                                                                         state and a demonstrated commitment to maintaining a continuous and active presence in the

                                                                         state into the foreseeable future. The NPR-A presents significant potential for the development of

                                                                         oil and gas resources, and is fundamental to ConocoPhillips’ investment in Alaska. Resolution of

                                                                         the issues presented in Plaintiffs’ complaint has broad implications for all of ConocoPhillips’

                                                                                   13
                                                                                   ConocoPhillips and Anadarko E&P Onshore, LLC (Anadarko) jointly purchased all
                                                                         seven in the 2017 Lease Sale. ConocoPhillips has since acquired all of Anadarko’s interest in
                                                                         those leases, although government approval of the lease assignments remains pending.


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                                                                         exploration, development, and production activities in the NPR-A, including the process by

                                                                         which NPR-A lands are leased and made available for exploration and potential development.

                                                                                In sum, ConocoPhillips has short- and long-term interests in the outcome of this

                                                                         litigation. In the short term, Plaintiffs’ lawsuit, if successful, would undermine ConocoPhillips’

                                                                         interests in seven leases in the amount of over $1 million, plus the substantial investment

                                                                         incurred in preparing to bid for those leases. In the long term, Plaintiffs’ lawsuit raises issues that

                                                                         could significantly impact ConocoPhillips’ ability to continue to explore for, develop, and

                                                                         produce oil in the NPR-A.

                                                                                                                   III. ARGUMENT
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                                                                         A.     ConocoPhillips is entitled to intervene as of right.
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                                                                                The Ninth Circuit has adopted a four-part test to determine whether a party should be

                                                                         permitted to intervene as of right: (1) the motion must be timely; (2) the movant must claim a
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                                                                         “significantly protectable” interest relating to the property or transaction which is the subject of

                                                                         the action; (3) the movant must be so situated that the disposition of the action may, as a
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                                                                         practical matter, impair or impede the movant’s ability to protect that interest; and (4) the

                                                                         movant’s interest must not be adequately represented by the existing parties to the action. 14

                                                                         Consistent with all other federal courts of appeal, the Ninth Circuit applies this test broadly in

                                                                         favor of intervention.

                                                                                          A liberal policy in favor of intervention serves both efficient
                                                                                          resolution of issues and broadened access to the courts. By
                                                                                          allowing parties with a practical interest in the outcome of a
                                                                                          particular case to intervene, we often prevent or simplify future
                                                                                          litigation involving related issues; at the same time, we allow an
                                                                                          additional interested party to express its views before the court.[15]

                                                                         As discussed below, ConocoPhillips meets each of the requirements for intervention as of right.


                                                                                14
                                                                                     Smith v. Marsh, 194 F.3d 1045, 1049 (9th Cir. 1999).
                                                                                15
                                                                                    United States v. City of L.A., 288 F.3d 391, 397-98 (9th Cir. 2002) (citations omitted;
                                                                         emphasis in original); Scotts Valley Band of Pomo Indians v. United States, 921 F.2d 924, 926
                                                                         (9th Cir. 1990).

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                                                                                 1.        ConocoPhillips’ motion is timely.
                                                                                 When evaluating timeliness, the Ninth Circuit considers (1) the stage of the proceedings,

                                                                         (2) any prejudice to the existing parties, and (3) the reasons for and length of any delay. 16 This
                                                                         litigation was recently filed and is in its preliminary stages. The Federal Defendants have not

                                                                         filed an answer, nor has the administrative record been lodged. ConocoPhillips has acted swiftly

                                                                         and without delay to seek intervention, and no party will be prejudiced by ConocoPhillips’

                                                                         intervention. ConocoPhillips has submitted a proposed answer to the complaint along with this

                                                                         motion to avoid any possible delay. Intervention is routinely considered timely at this litigation

                                                                         stage, and no prejudice, delay, or inefficiency will result from ConocoPhillips’ intervention. 17
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                                                                                 2.        ConocoPhillips has a significant protectable interest in the resolution of this
                                                                                           action.
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                                                                                 A significant protectable interest exists when an applicant “asserts an interest that is
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                                                                         protected under some law” and “there is a relationship between [the applicant’s] legally
                                                                         protected interest and the plaintiff’s claims.” 18 The interest requirement of Rule 24(a) is

                                                                         “primarily a practical guide to disposing of lawsuits by involving as many apparently concerned
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                                                                         persons as is compatible with efficiency and due process.” 19 Accordingly, “[n]o specific legal or

                                                                         equitable interest need be established” for the Rule 24 test to be satisfied. 20

                                                                                 16
                                                                                      Alaska v. Suburban Propane Gas Corp., 123 F.3d 1317, 1319 (9th Cir. 1997).
                                                                                 17
                                                                                    See, e.g., Sierra Club v. EPA, 995 F.2d 1478, 1481 (9th Cir. 1993) (motion deemed
                                                                         timely when filed before EPA’s answer), overruled in part on other grounds by Wilderness Soc’y
                                                                         v. United States Forest Serv., 630 F.3d 1173, 1176 (9th Cir. 2011); Citizens for Balanced Use v.
                                                                         Mont. Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011) (motion deemed timely when filed
                                                                         less than three months after complaint was filed and less than two weeks after Forest Service’s
                                                                         answer).
                                                                                 18
                                                                                   City of L.A., 288 F.3d at 398 (internal quotation marks and citation omitted); id.
                                                                         (relationship requirement is met where “resolution of plaintiff’s claims actually will affect the
                                                                         applicant”); see Sierra Club, 995 F.2d at 1484 (intervenor’s interest need not be protected by
                                                                         statute put at issue by complaint so long as it is protected by law and relates to claim).
                                                                                 19
                                                                                      Nuesse v. Camp, 385 F.2d 694, 700 (D.C. Cir. 1967); see Wilderness Soc’y, 630 F.3d at
                                                                         1179.
                                                                                 20
                                                                                   Sw. Ctr. for Biological Diversity v. Berg, 268 F.3d 810, 818 (9th Cir. 2001) (internal
                                                                         quotation marks and citation omitted).

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                                                                                 ConocoPhillips has significant and well-demonstrated regulatory, property, and economic

                                                                         interests that are directly at stake in the present litigation. As described above, ConocoPhillips

                                                                         has a substantial investment in the oil and gas leases issued under the 2017 Lease Sale.

                                                                         ConocoPhillips also expended substantial resources in activities leading up to the lease sale,

                                                                         including collecting seismic data and actively participating in the process that culminated in the

                                                                         IAP/EIS. 21 Plaintiffs’ lawsuit directly challenges BLM’s decision to proceed with the lease sales.

                                                                                 The Ninth Circuit has explicitly recognized that property and contractual stakes in an

                                                                         action are protectable interests sufficient to warrant intervention when those interests have a

                                                                         close relationship to the claims at issue in the litigation. 22 Lessee interests in leases issued by
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                                                                         BLM or other federal agencies have also been found to be significantly protectable and sufficient

                                                                         to warrant intervention. 23 Accordingly, ConocoPhillips satisfies the second prong of the
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                                                                         intervention test.
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                                                                                 3.        Disposition in favor of Plaintiffs will harm ConocoPhillips’ interests.
                                                                                 The test for impairment under Rule 24 focuses on practical effects. “If an absentee would
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                                                                         be substantially affected in a practical sense by the determination made in an action, he should,

                                                                         as a general rule, be entitled to intervene . . . .” 24 Intervention as of right is particularly
                                                                         appropriate when, as here, the relief sought is injunctive. 25


                                                                                 21
                                                                                      See Schell Decl. ¶¶ 5, 10.
                                                                                 22
                                                                                    See Sw. Ctr. for Biological Diversity, 268 F.3d at 820 (finding a significant protectable
                                                                         interest in a contract); Sierra Club, 995 F.2d at 1482 (finding that the City of Phoenix’s property
                                                                         rights in a wastewater treatment plant and permits provided a sufficient interest to support
                                                                         intervention in a Clean Water Act case); Wilderness Soc’y, 630 F.3d at 1179 (holding that there
                                                                         is “a sufficient interest for intervention purposes if [a prospective intervenor] will suffer a
                                                                         practical impairment of its interests as a result of the pending litigation” (internal quotation
                                                                         marks and citation omitted)).
                                                                                 23
                                                                                See, e.g., Defs. of Wildlife v. Bureau of Ocean Energy Mgmt., No. 10-0254-WS-C,
                                                                         2010 WL 5139101, at *2 (S.D. Ala. Dec. 9, 2010).
                                                                                 24
                                                                                   Fed. R. Civ. P. 24 advisory committee’s note, quoted in Citizens for Balanced Use, 647
                                                                         F.3d at 898.
                                                                                 25
                                                                                  See City of L.A., 288 F.3d at 399; Sw. Ctr. for Biological Diversity, 268 F.3d at 818
                                                                         (where relief sought by plaintiffs will have direct, immediate, and harmful effects upon a third
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                                                                                 The purpose of Plaintiffs’ claims in this litigation is to invalidate the federal actions

                                                                         (leasing) that allow ConocoPhillips to conduct exploration, development, and production

                                                                         activities in the NPR-A. 26 If Plaintiffs are successful in their claims, and the leases are

                                                                         invalidated, ConocoPhillips stands to lose the leases in which it has invested and the exclusive

                                                                         right under those leases to explore for and potentially develop the oil and gas resources on those

                                                                         lands. 27 Less draconian remedies or forms of injunctive relief could also impose substantial

                                                                         additional costs from delay or increased regulatory burdens or significantly devalue some of the

                                                                         leases. 28 In addition, an adverse ruling in this case could impact the availability of future lease

                                                                         sales in the NPR-A, significantly impacting ConocoPhillips’ long-term objectives in this area. 29
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                                                                         ConocoPhillips satisfies the third prong of the intervention test.
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                                                                                 4.        The Federal Defendants do not adequately represent ConocoPhillips’
                                                                                           interests.
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                                                                                 ConocoPhillips’ interests are sufficiently different from those of the Federal Defendants

                                                                         to warrant intervention. The burden of demonstrating inadequate representation is minimal.
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                                                                         ConocoPhillips need only show that its interests are different from the existing parties such that

                                                                         their representation “may be” inadequate. 30 The Court must consider:

                                                                                           (1) whether the interest of a present party is such that it will
                                                                                           undoubtedly make all the intervenor’s arguments; (2) whether the
                                                                                           present party is capable and willing to make such arguments; and




                                                                         party’s legally protectable interests, the party satisfies the “interest” test); Complaint, Request for
                                                                         Relief.
                                                                                 26
                                                                                      See Complaint ¶¶ 1-4, 52-64, Request for Relief.
                                                                                 27
                                                                                      Schell Decl. ¶¶ 9-12.
                                                                                 28
                                                                                      Id. ¶ 11.
                                                                                 29
                                                                                      See id. ¶¶ 3-4.
                                                                                 30
                                                                                   Citizens for Balanced Use, 647 F.3d at 898; Trbovich v. United Mine Workers of Am.,
                                                                         404 U.S. 528, 538 n.10 (1972); Sw. Ctr. for Biological Diversity, 268 F.3d at 823; Nuesse, 385
                                                                         F.2d at 703.

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                                                                                          (3) whether the would-be intervenor would offer any necessary
                                                                                          elements to the proceedings that other parties would neglect.[31]
                                                                         Here, the interests and perspectives of ConocoPhillips as a non-federal entity with a direct

                                                                         economic stake in this controversy are very different from the interests of BLM as a federal
                                                                         regulatory agency. When parties, such as ConocoPhillips, have private interests, as opposed to

                                                                         the government’s “public” interests, this difference is sufficient to justify intervention. 32

                                                                         B.     Alternatively, ConocoPhillips is entitled to permissive intervention.
                                                                                As with intervention as of right, permissive intervention is construed liberally in favor of

                                                                         the moving party. 33 Permissive intervention should be allowed under Rule 24(b) as long as the

                                                                         applicant for intervention establishes that “(1) it shares a common question of law or fact with
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                                                                         the main action; (2) its motion is timely; and (3) the court has an independent basis for
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                                                                         jurisdiction over the applicant’s claims.” 34 Under this standard, neither the inadequacy of

                                                                         representation nor a direct interest in the subject matter of the action need be shown. 35
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                                                                                As addressed above, ConocoPhillips’ interests are placed directly at stake by the claims
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                                                                         alleged by Plaintiffs. As the private party that will be most directly and adversely affected by the

                                                                         relief sought by Plaintiffs—indeed, as the target of this lawsuit in all practical terms—

                                                                         ConocoPhillips’ interests present issues of law and fact common to the main action. In addition,

                                                                         ConocoPhillips’ motion to intervene is timely and will not prejudice the existing parties.




                                                                                31
                                                                                   City of L.A., 288 F.3d at 398 (citing Nw. Forest Res. Council v. Glickman, 82 F.3d
                                                                         825, 838 (9th Cir. 1996)).
                                                                                32
                                                                                   See Sw. Ctr. for Biological Diversity, 268 F.3d at 823-24; Sierra Club v. Espy, 18 F.3d
                                                                         1202, 1208 (5th Cir. 1994); Cty. of Fresno v. Andrus, 622 F.2d 436, 438-39 (9th 1980); Nat’l
                                                                         Res. Def. Council, Inc. v. Costle, 561 F.2d 904, 912 (D.C. Cir. 1977).
                                                                                33
                                                                                     City of L.A., 288 F.3d at 397-98.
                                                                                34
                                                                                     Donnelly v. Glickman, 159 F.3d 405, 412 (9th Cir. 1998).
                                                                                35
                                                                                   Kootenai Tribe of Idaho v. Veneman, 313 F.3d 1094, 1108 (9th Cir. 2002), overruled in
                                                                         part on other grounds by Wilderness Soc’y, 630 F.3d at 1178.

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                                                                         Accordingly, if this Court were to deny ConocoPhillips’ motion to intervene as of right,

                                                                         permissive intervention should be granted. 36

                                                                                                                IV. CONCLUSION

                                                                                For the foregoing reasons, ConocoPhillips respectfully requests that the Court grant its

                                                                         motion for leave to intervene as of right under Fed. R. Civ. P. 24(a). In the alternative,

                                                                         ConocoPhillips respectfully requests that it be granted permissive intervention under Fed. R. Civ.

                                                                         P. 24(b).

                                                                         DATED: March 29, 2018.
                                                                                                                             STOEL RIVES LLP
                  600 University Street, Suite 3600, Seattle, WA 98101




                                                                                                                             By:/s/ Ryan P. Steen
                                                                                                                                RYAN P. STEEN
                                                Fax 206.386.7500




                                                                                                                                JASON T. MORGAN
                                                                                                                                VERONICA M. KEITHLEY
                                                                                                                                Attorneys for Applicant for Intervention
STOEL RIVES LLP




                                                                                                                                ConocoPhillips Alaska, Inc.
                       Main 206.624.0900




                                                                                36
                                                                                   See Freedom from Religion Found., Inc. v. Geithner, 644 F.3d 836, 844 (9th Cir. 2011)
                                                                         (explaining that “the independent jurisdictional grounds requirement does not apply to proposed
                                                                         intervenors in federal-question cases when the proposed intervenor is not raising new claims”).

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                                                                                                          CERTIFICATE OF SERVICE

                                                                                I hereby certify that on March 29, 2018, I filed a true and correct copy of the foregoing

                                                                         document with the Clerk of the Court for the United States District Court of Alaska by using the

                                                                         CM/ECF system. Participants in this Case No. 3:18-cv-00030-SLG; who are registered CM/ECF

                                                                         users will be served by the CM/ECF system.



                                                                                                                      /s/ Ryan P. Steen
                                                                                                                      Ryan P. Steen
                  600 University Street, Suite 3600, Seattle, WA 98101
                                                Fax 206.386.7500
STOEL RIVES LLP

                       Main 206.624.0900




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